        Case 8:03-cr-00448-SDM-E_J Document 341 Filed 07/11/07 Page 1 of 6 PageID 1036
A0 245B (Rev 06/05) Sheet 1 - Judgment in a Criminal Case



                                UNITED S JA TES DISTRICT COURT
                                                            MIDDLE DISTRICT O F FLORIDA
                                                                 TAMPA DIVISION



UNITED STATES OF AMERICA                                              JUDGMENT IN A CRIMINAL CASE
                                                                      CASE NUMBER:       8:03-cr-448-T-23EAJ
                                                                      USh4 NUMBER:       48655-018



REGINALD LEON THOMAS
                                                                      Defendant's Attorney: Christopher Dosrochers, cja

THE DEFENDANT:

X       pleaded guilty to count ONE of the Indictment.


TITLE & SECTION                                     NATURE OF OFFENSE                           OFFENSE ENDED             COUNT

21 U.S.C. $3 846 and 841(b)(l)(B)                  Conspiracy to Possess With Intent            October 29, 2003          ONE
                                                   to Distribute 500 Grams or More
                                                   (lesser included weight) of Cocaine

The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed pursuant to the Sentencing
Reform Act of 1984.


IT IS FURTHER ORDERED that the defendant must notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment
are fully paid.

If ordered to pay restitution, the defendant must notify the court and United States Attorney of any material change in economic
circ~n~stances.


                                                                                       Date of Imposition of Sentence: July 6, 2007




                                                                                                                                      4
                                                                                            STEVEN D. MERRYDAY
                                                                                       UNITED STATES DISTRICT JUDGE

                                                                                       DATE: July    (1 t5i , 2007
        Case 8:03-cr-00448-SDM-E_J Document 341 Filed 07/11/07 Page 2 of 6 PageID 1037
A 0 245B (Rev 06/05) Sheet 2 - Irnpriso~~msr~t
                                           ((Judgment in a Criminal Case)
Defendant:           REGINALD LEON THOMAS                                                                Judgment - Page 2 of 6
Case No. :           6:03-cr-418-T-23EAJ

                                                                IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of
ONE HUNDRED FIFTY-ONE (151) MONTHS. This term of imprisonment shall m n concurrently with the defendant's
term of imprisonment imposed pursuant to the judgment in Docket Numbers CRC00-02346CFAWS. CRC00-2348CFAWS,
and CRC00-2344CFAWS, Pasco County Circuit Court.




-
X The court makes the following recommendations to the Bureau of Prisons: confinement at either FCI Butner. N.C. or
FCI Jesup, GA.



X The defendant is remanded to the custody of the United States Marshal.
- The defendant shall surrender to the United States Marshal for this district.

           - at -a.rn./p.m. on -.
           - as notified by the United States blarsl~al.

- The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons.
           - before 2 p.m. on -.
           - as notified by the United States Marshal.
           - as nodfied by the Probation or Pretrial Services Office.




                                                                        RETURN

           I have executed this judgment as follows:




           Defendant delivered on                                                to

-     at                                                                         , with a certified copy of this judgment.


                                                                                        United States Marshal
        Case 8:03-cr-00448-SDM-E_J Document 341 Filed 07/11/07 Page 3 of 6 PageID 1038
A 0 24513 (Rev. 06/05) Sheet 3 - Supervised Release (Judgment in a Criminal Case)

Defendant:            REGINALD LEON THOMAS                                                                       Judgment - Page 3of 6
Case No. :            8:03-cr-448-T-23EAJ
                                                              SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of ONE HUNDRED TWEYTY (120)
MONTHS.

The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons.

While on supervised release, the defendant shall not commit another federal, state, or local crime, and shall not possess a firearm,
ammunition, or destructive device as defined in 18 U.S.C. 8 921.

X          The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a
           controlled substance. Based on the probation officer's determination that additional drug urinalysis is necessary, the Court
           authorizes random drug testing not to exceed 104 tests per year.

X
-          The defendant shall cooperate in the collection of DNA as directed by the probation officer.

If this judgment imposes a fine or restitution it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments sheet of this judgment.

The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
conditions on the attached page.
                                               STANDARD CONDITIONS OF SUPERVISION
        the defendant shall not leave the judicial district without the pen~iissionof the court or probation officer;

        thc defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of each
        month;

        the defendant shall answer truthfully all inq~~iries
                                                          by the probation officcr and follow the instructions of the probation officer;

        the defendant shall support his or her dependents and meet other fanlily responsibilities;

        the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other acceptable
        reasons;

        the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;

        the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled
        substance or any paraphernalia rclated to any controlled substances, except as prescribed by a physician;

        the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;

        the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a felony,
        unless granted permission to do so by the probation officer;

        the defendant shall pennit a probation officer to visit him or her at any tinie at home or elsewhere and shall permit confiscation of any
        contraband observed in plain view of the probation officer;

        the dcfendant shall notify thc probation officer within seventy-two hours of being arrested or qilcstioned by a law enforcement officer;

        the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcenient agency \vithout the permission
        of the court; and

        as directed by the probation officer, the defendant shall notify third partics of risks thar may be occasioned by the defendant's criminal record
        or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the defendant's
        compliance with such notification requirement.
         Case 8:03-cr-00448-SDM-E_J Document 341 Filed 07/11/07 Page 4 of 6 PageID 1039
A 0 245B (Rev. 04/05)Shect 3C - Supervised Release (Judgment in a Criminal Case)

Defendant:           REGINALD LEON THOMAS                                                               Judgment - Page 4 of 6
Case No. :           8:03-cr-448-T-23EAJ
                                              SPECIAL CONDITIONS OF SUPERVISION

           The defendant shall also comply with the following additional conditions of supervised release:

X
-          The defendant shall participate in a program (outpatient and/or inpatient) for treatment of narcotic addiction or drug or alcohol
           dependency and follow the probation officer's instructions regarding the implementation of this court directive. This program may
           include testing for the detection of substance use or abuse. Further, the defendant shall be required to contribute to the costs of
           services for such treatment not to exceed an amount determined reasonable by the Probation Office's Sliding Scale for Substance
           Abuse Treatment Services. Upon completion of a drug or alcohol dependency treatment program, the defendant is directed to
           submit to testing for the detection of substance use or abuse not to exceed 104 times per year.
X
-          The defendant shall participate in a mental health treatment program and follow the probation officer's instructions
           regarding the implementation of this court directive. Further, the defendant shall be required to contribute to the costs of
           services for such treatment in an amount determined reasonable by the probation officer based on ability to pay or
           availability of third party payment and in conformance with the Probation Office's Sliding Scale for Mental Health
           Treatment Services.
         Case 8:03-cr-00448-SDM-E_J Document 341 Filed 07/11/07 Page 5 of 6 PageID 1040
A 0 245B (Rev 06/05) Sheet 5 - Criminal h4onerary Penalties (Judgment in a Criminal Case)
--



Defendant:            REGINALD LEON THOMAS                                                                      Judgment - Page 5 of 6
Case No. :            8 :03-cr-448-T-23EAJ

                                                  CRIMINAL MONETARY PENALTIES

           The defendant nus st pay the total criminal monetary penalties under the schedule of payments on Sheet 6.
                                Assessment                                  Fine                         Total Restitution

           Totals:                                                          $ waived


           The determination of restitution is deferred until                   . An Arnerzded Jrrdgnzerzt in n Crirnirml Case ( A 0 245C) will be
           entered after such determination.
-          The defendant must make restitution (including conlrnunity restitution) to the following payees in the amount listed
           below.
           If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless
           specified otherwise in the priority order or percentage pa ment column below. However. pursuant to 18 U.S.C. 8
           3664(i), all non-federal victims must be paid betore the dnited States.


Name of Pavee                                         Total Loss*                      Restitution Ordered              Priority or Percentage




                                 Totals:              $                                L

 -          Restitution amount ordered pursuant to plea agreement $
 -          The defendant must pay interest on a fine or restitution of more than $2,500, unless the restitution or fine is paid in full
            before the fifteenth day after the date of the judgment, pursuant to 18 U. S .C. 5 36 12(f). All of the payment options on Sheet
            6 may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. 8 3612(g).
 -          The court determined that the defendant does not have the ability to pay interest and it is ordered that:
           -          the interest requirement is waived for the - fine                     - restitution.

           -          the interest requirement for the - fine - restitution is modified as follows:


* Findings for the total amount of losses are required under Chapters 109A, 1 10, 1 1OA, and 113A of Title 18 for the offenses
conmitted on or after September 13, 1994, but before April 23, 1996.
         Case 8:03-cr-00448-SDM-E_J Document 341 Filed 07/11/07 Page 6 of 6 PageID 1041
A 0 245B (Rev 06'05) Sheet 6 - Schedule of Payments (Judgment in a Criminal Case)

Defendant:           REGINALD LEON THOMAS                                                           Judgment - Page 6of 6
Case No. :           8:03-cr-448-T-23EAJ


                                                          SCHEDULE OF PAYMENTS



Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

A.          X        Luinp sum payment of $ 100.00 due immediately, balance due
                                 -not later than                         , Or

                                 -in accordance - C , - D, - E or - F below; or
B.        -          Payment to begin immediately (may be combined with -C , -D, or -F below): or
C.        -          Payment in equal                 (e.g ., weekly, monthly, quarterly) installments of $                over a
                     period of          (e.g., months or years), to commence               days (e. g . , 30 or 60 days) after the
                     date of this judgment; or
D.        -          Payment in equal                 (e.g., weekly, monthly, quarterly) installments of $             over a
                     period of             , (e.g ., months or years) to commence                   (e.g. 30 or 60 days) after
                     release from imprisonment to a term of supervision; or
E.        -          Payment during the term of supervised release will commence within                          (e.g., 30 or
                     60 days) after release from imprisonment. The court will set the payment plan based on an assessment of
                     the defendant's ability to pay at that time, or
F.        -          Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary
 enalties is due during imprisonment. All cri~ninalmonetary penalties, except those payments made through the Federal
bureau of Prisons' Inmate Financial Responsibility Program, are made to the clerk of the court.
The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
-          Joint and Several
Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several
Amount, and corresponding payee, if appropriate:


-          The defendant shall pay the cost of prosecution.
-          The defendant shall pay the following court cost(s):
-          The defendant shall forfeit the defendant's interest in the following property to the United States:


Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) h e principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
